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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA                     *

       v.             *                      CRIM. NOS. GLR-13-0587

JEROME ADOLFO CASTLE,                        *

                      Defendant.             *

                                             *

                          MOTION TO WITHDRAW AS COUNSEL

       The undersigned counsel for Defendant Jerome Adolfo Castle hereby moves to

withdraw his appearance and states as follows:

       1.       Counsel was retained to represent Defendant and entered his appearance

on March 1, 2015.

       2.       Counsel has recently been nominated to become U.S. Attorney for the

District of Maryland and, thus, now has a conflict of interest in this matter.

       WHEREFORE, undersigned counsel asks that the court grant this Motion to

Withdraw as Counsel.

                                                 Respectfully Submitted,

                                                 /s/ Erek L. Barron
                                                 Erek L. Barron, Esq.
                                                 Whiteford, Taylor & Preston L.L.P.
                                                 111 Rockville Pike, Suite 800
                                                 Rockville, MD 20850
                                                 301.804.3613
                                                 ebbaron@wtplaw.com

                                                 Counsel for Defendant
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                         CERTIFICATE OF FILING AND SERVICE


           I hereby certify that on this 28 th day of September, 2021, I caused this

Motion to Withdraw as Counsel to be filed electronically with the Clerk of the

Court using the CM/ECF System, which will send notice of such filing to all

registered CM/ECF users in this matter.

           I also hereby certify that on this 28 th day of September, 2021, I caused this

Motion to Withdraw as Counsel to be sent to Defendant at the following

address:

                        Jerome Adolfo Castle, #37377-083
                        FCI Danbury
                        Federal Correctional Institution
                        Route 37
                        Danbury, CT 06811




                                                  /s/ Erek L. Barron
                                                  Counsel for Defendant




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